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 6                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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 8   DESIREE NICHOLAS,                       ) CASE NO. 2:20-cv-10544-AS
 9        Plaintiff,                         )
                                             ) [PROPOSED]
10
                 vs.                         ) JUDGMENT
11                                           )
12
     ANDREW SAUL,                            )
     Commissioner of Social Security,        )
13                                           )
14         Defendant.                        )
                                             )
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16
           The Court hereby approves the parties’ Stipulation to Voluntary Remand
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     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
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     (“Stipulation to Remand”) lodged concurrent with this Judgment of Remand, IT IS
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     HEREBY ORDERED, ADJUDGED AND DECREED that the above-captioned
20
     action is remanded to the Commissioner of Social Security for further proceedings
21
     consistent with the Stipulation to Remand.
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23
     DATED:    September 28, 2021             / s / Sagar
24                                  HONORABLE ALKA SAGAR
25                                  UNITED STATES MAGISTRATE JUDGE
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